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   1   things, a review of the Defendant’s public documents, conference calls and
   2
       announcements made by the Defendants, United States Securities and Exchange
   3

   4   Commission (“SEC”) filings, wire and press releases published by and regarding

   5   the Company, securities analysts’ reports and advisories about the Company, and
   6
       information readily obtainable on the Internet. Plaintiff believes that substantial
   7

   8   evidentiary support will exist for the allegations set forth herein after a reasonable
   9   opportunity for discovery.
  10
                                           SUBSTANTIVE ALLEGATIONS
  11

  12            1.        This is a securities class action on behalf of all persons or entities who:
  13   (1) purchased or otherwise acquired the securities of CIL pursuant and/or traceable
  14
       to the Company’s Registration and Statement and Prospectus (collectively, the
  15

  16   “Registration Statement”) issued in connection with the Company’s June 18, 2010
  17   initial public offering (the “IPO” or the “Offering”) seeking to pursue remedies
  18
       under the Sections 11, 12(a)(2), and 15 of Securities Act of 1933 (the “Securities
  19

  20   Act”); and (2) purchased or otherwise acquired the securities of CIL during the
  21
       period from June 18, 2010 to March 29, 2011, inclusive (the “Class Period”),
  22
       seeking to pursue remedies under Sections 10(b) and 20(a) of the Securities
  23

  24   Exchange Act of 1934 (the “Exchange Act”).
  25
                2.        On June 16, 2010 the Company filed with the SEC an amended
  26
       Registration Statement on Form S-1/A in connection with the Offering.                                The
  27

  28   Registration Statement also contained a Prospectus and both documents contained,
                                                                       2
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   1   among other things, the Company’s financial results for the fiscal years ended
   2
       December 31, 2009, interim quarterly reports thereof, and results for the first
   3

   4   quarter ended March 31, 2010.

   5            3.        The Registration Statement was declared effective on June 17, 2010,
   6
       and the Company filed the final prospectus with the SEC on June 21, 2010.
   7

   8            4.        The Offering was for 3,350,000 shares of the Company’s common
   9   stock at a price of $3.00 per share. The Offering was underwritten by defendants
  10
       WestPark Capital, Inc. (“WestPark”) and Rodman & Renshaw, LLC (“Renshaw”).
  11

  12   WestPark and Renshaw are collectively referred to herein as the “Underwriters” or
  13   “Underwriter Defendants.” Pursuant to the Offering the Underwriters had a 45-day
  14
       option to purchase an additional 502,500 shares of the Company common stock to
  15

  16   cover over-allotments.
  17            5.        On June 18, 2010 the Company completed the Offering and gross
  18
       proceeds to the Company was $10.05 million.
  19

  20            6.        Throughout the Class Period, the Defendants made false and/or
  21
       misleading statements, and failed to disclose material adverse facts about the
  22
       Company's business, operations, prospects and performance. Specifically, during
  23

  24   the Class Period, Defendants made false and/or misleading statements and/or failed
  25
       to disclose that the financial statements included in the Registration Statement as of
  26
       December 31, 2009 was materially false and misleading and could not be relied
  27

  28   upon as they contained material errors.                               Moreover, the Company’s financial
                                                                       3
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   1   statements for the quarterly periods in 2010 were also materially false and
   2
       misleading and could not be relied upon.
   3

   4                                              JURISDICTION AND VENUE

   5            7.        The claims asserted herein arise under and pursuant to Sections 10(b)
   6
       and 20(a) of the Exchange Act, (15 U.S.C. §78j(b) and 78t(a)), and Rule 10b-5
   7

   8   promulgated thereunder (17 C.F.R. §240.10b-5). Additional claims arise under
   9   Sections 11, 12(a)(2) and 15 of the Securities Act, 15 U.S.C. §§77k and 77o.
  10
                8.        This Court has jurisdiction over the subject matter of this action
  11

  12   pursuant to §27 of the Exchange Act (15 U.S.C. §78aa) and 28 U.S.C. § 1331 and
  13   Section 22of the Securities Act, 15 U.S.C. §77v.
  14
                9.        Venue is proper in this Judicial District pursuant to §27 of the
  15

  16   Exchange Act, 15 U.S.C. § 78aa, 28 U.S.C. § 1391(b), and Section 22 of the
  17   Securities Act, 15 U.S.C. §77v.
  18
                10.       In connection with the acts, conduct and other wrongs alleged in this
  19

  20   Complaint, the Defendants, directly or indirectly, used the means and
  21
       instrumentalities of interstate commerce, including but not limited to, the United
  22
       States mails, interstate telephone communications and the facilities of the AMEX.
  23

  24                                                          PARTIES
  25
                11.       Plaintiff Michael Stern, as set forth in the attached PSLRA
  26
       certification, purchased CIL securities at artificially inflated prices during the Class
  27

  28   Period and has been damaged thereby.
                                                                       4
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   1            12.       Defendant CIL is a Delaware Corporation with its principal executive
   2
       offices in Guangdong Province, China. CIL purports to manufacture LED lighting
   3

   4   products in China.

   5            13.       Defendant Li Xuemei (“Xuemei”) at all relevant times herein was the
   6
       Company’s Chief Executive Officer, President and Chairman of the Board.
   7

   8   Xuemei signed the Registration Statement.
   9            14.       Defendant Kui Kevin Jiang (“Jiang”) at all relevant times herein was
  10
       the Company’s Chief Financial Officer and Corporate Secretary. Jiang signed the
  11

  12   Registration Statement.
  13            15.       Defendant Wu Shiliang (“Shiliang”) at all relevant times herein was
  14
       the Company’s Executive Vice President, and Sales and Marketing Director.
  15

  16   Shiliang signed the Registration Statement.
  17            16.       Defendant Michael Askew (“Askew”) was Company Director until he
  18
       resigned on or about March 24, 2011. Askew signed the Registration Statement.
  19

  20            17.       Defendant Su Yang (“Yang”) was a Company Director until Yang
  21
       resigned from the Company on March 1, 2011. Yang signed the Registration
  22
       Statement.
  23

  24            18.       Defendant Ruxiang Niu (“Niu”) was a Company Director beginning
  25
       on March 1, 2011.
  26
                19.       Defendant Zhang Hongfeng (“Hongfeng”) at all relevant times herein
  27

  28   was a Company Director. Hongfeng signed the Registration Statement.
                                                                       5
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   1            20.       Defendants Xuemei, Jiang, Shiliang, Askew, Yang and Hongfeng are
   2
       collectively the “Individual Defendants”.
   3

   4            21.       Defendant WestPark Capital (“WestPark”), Inc. is a full service

   5   investment banking company. WestPark’s headquarters are located at 1900 Avenue
   6
       of the Stars, Suite 310, Los Angeles, CA 90067. WestPark was an underwriter of
   7

   8   the Offering.
   9            22.       Defendant Rodman & Renshaw LLC (“Rodman”) is a full-service
  10
       investment bank Rodman maintains offices in New York, New York.
  11

  12
                             PLAINTIFF’S CLASS ACTION ALLEGATIONS

  13            23.       Plaintiff brings this action as a class action pursuant to Federal Rules
  14   of Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those
  15
       who: (1) purchased or otherwise acquired the securities of CIL pursuant and/or
  16

  17   traceable to the Company’s Registration Statement issued in connection with the
  18   with the Company’s June 18, 2010 Offering; and (2) purchased or otherwise
  19
       acquired the securities of CIL during the Class Period. Excluded from the Class are
  20

  21   the officers and directors of the Company at all relevant times, members of their
  22
       immediate families and their legal representatives, heirs, successors or assigns and
  23
       any entity in which Defendants have or had a controlling interest.
  24

  25            24.       The members of the Class are so numerous that joinder of all members
  26
       is impracticable. Throughout the Class Period, the Company’s common stock was
  27
       actively traded on the AMEX. While the exact number of Class members is
  28

                                                                       6
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   1   unknown to Plaintiff at this time, and can only be ascertained through appropriate
   2
       discovery, Plaintiff believes that there are at least hundreds of members in the
   3

   4   proposed Class. Members of the Class may be identified from records maintained

   5   by CIL or its transfer agent, and may be notified of the pendency of this action by
   6
       mail using a form of notice customarily used in securities class actions.
   7

   8            25.       Plaintiff’s claims are typical of the claims of the members of the Class,
   9   as all members of the Class are similarly affected by Defendants’ wrongful conduct
  10
       in violation of federal law that is complained of herein.
  11

  12            26.       Plaintiff will fairly and adequately protect the interests of the members
  13   of the Class and has retained counsel competent and experienced in class and
  14
       securities litigation.
  15

  16            27.       Common questions of law and fact exist as to all members of the Class
  17   and predominate over any questions solely affecting individual members of the
  18
       Class. Among the questions of law and fact common to the Class are:
  19

  20                      (a) whether the federal securities laws were violated by Defendants’
  21
                          acts as alleged herein;
  22
                          (b) whether statements made by the Defendants to the investing public
  23

  24                      during the Class Period misrepresented material facts about the
  25
                          business, operations, and management of the Company; and
  26
                          (c) to what extent the members of the Class have sustained damages,
  27

  28                      and the proper measure of damages.
                                                                       7
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   1            28.       A class action is superior to all other available methods for the fair and
   2
       efficient adjudication of this controversy since joinder of all members is
   3

   4   impracticable. Furthermore, as the damages suffered by individual Class members

   5   may be relatively small, the expense and burden of individual litigation make it
   6
       impossible for members of the Class to redress individually the wrongs done to
   7

   8   them. There will be no difficulty in the management of this action as a class action.
   9                                       SUBSTANTIVE ALLEGATIONS
  10
                29.       On June 16, 2010 the Company filed with the SEC an amended
  11

  12   Registration Statement on Form S-1/A in connection with the Offering.                                The
  13   Registration Statement also contained a Prospectus and both documents contained,
  14
       among other things, the Company’s financial results for the fiscal year ended
  15

  16   December 31, 2009 interim quarterly periods thereto, and results for the first
  17   quarter ended March 31, 2010.
  18
                30.       The Registration Statement declared effective on June 17, 2010 and
  19

  20   the Company filed the final prospectus with the SEC on June 21, 2010.
  21
                31.       The Offering consisted of 3,350,000 shares priced at $3.00 per share.
  22
                32.       WestPark and Rodman were the Underwriters. The Underwriters had
  23

  24   a 45-day option to purchase an additional 502,500 shares of common stock from the
  25
       Company to cover over-allotments.
  26
                33.       On June 30, 2010 the Company filed its second quarter ended June 30,
  27

  28   2010 results with the SEC on Form 10-Q, signed by defendant Xuemei.
                                                                       8
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   1            34.       Attached to the 10-Q were separately signed Sarbanes-Oxley Act of
   2
       2002 (“SOX”) certifications of defendants Xuemei and Jiang. In addition to stating
   3

   4   that each of the them were responsible for establishing maintaining disclosure

   5   controls and procedures and internal control over financial reporting, the
   6
       certifications falsely stated, in part, that the 10-Q “does not contain any untrue
   7

   8   statement of a material fact or omit to state a material fact necessary to make the
   9   statements made, in light of the circumstances under which such statements were
  10
       made, not misleading…”;(2) “[a]ll significant deficiencies and material weaknesses
  11

  12   in the design or operation of internal control over financial reporting which are
  13   reasonably likely to adversely affect the registrant’s ability to record, process,
  14
       summarize and report financial information” was disclosed to the Company’s
  15

  16   auditor, audit committee and board; and (3) “[a]ny fraud, whether or not material,
  17   that involves management or other employees who have a significant role in the
  18
       registrant’s internal controls over financial reporting” were disclosed to the
  19

  20   Company’s board, auditors, and audit committee.
  21
                35.       On November 8, 2010 the Company filed its third quarter ended
  22
       September 30, 2010 results with the SEC on Form 10-Q, signed by defendant
  23

  24   Xuemei. . The 10-Q also included SOX certifications executed by defendants
  25
       Xuemei and Jiang that was in sum and substance the same as the SOX certifications
  26
       filed with the Q2 10-Q.
  27

  28                                        TRUTH BEGINS TO EMERGE
                                                                       9
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 1            36.       Throughout the Class Period, the Defendants made false and/or
 2
     misleading statements, and failed to disclose material adverse facts about the
 3

 4   Company's business, operations, prospects and performance. Specifically, during

 5   the Class Period, Defendants made false and/or misleading statements and/or failed
 6
     to disclose that the financial statements included in the Registration Statement as of
 7

 8   December 31, 2009 were materially false and misleading and could not be relied
 9   upon as they contained material errors, as well as the Company’s quarterly financial
10
     statements in 2010.
11

12            37.       On March 24, 2011 trading in the Company’s stock was inexplicably
13   halted.
14
              38.       On March 21, 2011 the Company filed an 8-K with the SEC
15

16   announcing that defendant De Campo had resigned.
17            39.       On March 29, 2011 the Company issued a press release, announcing
18
     among other things, (a) resignation/termination of the Company’s auditor,
19

20   MaloneBailey LLP (“MB”); (b) a determination the Company’s financials
21
     statements could not be relied upon as they contained material errors; (c) potential
22
     accounting fraud; (d) a formal SEC investigation; and (e) employee departures.
23

24   The announcement states in relevant part:
25

26

27

28

                                                                     10
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 1            China Intelligent Lighting Announces Termination of Engagement with
              Auditor; Auditor Withdrawal of Audit Opinion; Resignation of Audit
 2            Committee Chair; NYSE Amex Request for Information; Notice of SEC
              Investigation; and Formation of Special Investigation Committee
 3
              Press Release Source: China Intelligent Lighting and Electronics, Inc. On
 4            Tuesday March 29, 2011, 4:30 pm EDT
 5            HUIZHOU, China, March 29, 2011 /PRNewswire-Asia-FirstCall/ -- China
 6            Intelligent Lighting and Electronics, Inc. (NYSE Amex: CIL) (the
              "Company"), today announced that the Company's engagement with its
 7            registered     independent    accounting    firm,     MaloneBailey    LLP
 8            ("MaloneBailey"), has been formally terminated. On March 23, 2011, the
              Company provided notice of termination to MaloneBailey as the Company's
 9            auditor, effective immediately. On March 24, 2011, the Company received a
10            notice of resignation from MaloneBailey ("Resignation Letter") indicating
              that MaloneBailey is terminating its engagement with the Company, effective
11            immediately. The Company has begun to seek to retain a new auditor.
12
              The Resignation Letter described MaloneBailey's resignation being due to
13            accounting fraud involving forging of the Company's accounting records and
14            forging bank statements, in addition to other discrepancies identified in the
              Company's accounts receivable. The Resignation Letter indicated that
15            MaloneBailey believed that the accounting records of the Company have
16            been falsified, which constitutes an illegal act. Furthermore, MaloneBailey's
              letter notes that the discrepancies could indicate a material error in previously
17            issued financial statements. As a result, MaloneBailey stated that it is unable
18            to rely on management's representations as they relate to previously issued
              financial statements and it can no longer support its opinion related to the
19            Company's financial statements for the year ended and as of December 31,
20            2009.
21            On March 24, 2011, Michael Askew resigned as a member of the Board of
22            Directors of the Company, effective immediately, including his position as
              the Chairman of the Company's Audit Committee. Mr. Askew submitted his
23            resignation to the Board via email on March 24, 2011, approximately the
24            twelve month anniversary of appointment, indicating that his resignation was
              due to, among other things, the circumstances relevant to his limited ability
25            to provide assistance and advice to the Company in the present situation,
26            including but not limited to the Board not seeking Mr. Askew's input or
              professional services during his term on the Board.
27

28

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 1            On March 24, 2011, the Company received a preliminary information request
 2            from Amex requesting additional information. The Company intends to fully
              cooperate with NYSE Amex regarding this matter.
 3

 4
              The Company was also recently notified by the staff of the U.S. Securities
              and Exchange Commission ("SEC") that it has initiated a formal, nonpublic
 5            investigation into whether the Company had made material misstatements or
 6
              omissions concerning its financial statements, including cash accounts and
              accounts receivable. The SEC has informed the Company that the
 7            investigation should not be construed as an indication that any violations of
 8            law have occurred. On March 24, 2011, the SEC served the Company a
              subpoena for documents relating to the matters under review by the SEC.
 9            The Company is committed to cooperating with the SEC. It is not possible at
10            this time to predict the outcome of the SEC investigation, including whether
              or when any proceedings might be initiated, when these matters may be
11            resolved or what, if any, penalties or other remedies may be imposed.
12
              In light of these events, the Board of Directors of the Company has formed a
13            Special Investigation Committee consisting of independent members of the
14
              Board of Directors to launch an investigation with respect to the concerns of
              MaloneBailey. The Committee is authorized to retain experts and advisers,
15            including a forensic accounting firm and independent legal advisors, in
16
              connection with its investigation. The Company does not intend to provide
              further comment regarding the allegations until after the conclusion of the
17            Special Committee's investigation.
18
              The Company expects that the filing of its Annual Report on Form 10-K for
19            the year ended December 31, 2010 will be delayed until completion of the
              internal investigation, engagement of a new auditor and audit of the
20
              Company's financial statements. The Company is unable to provide an
21            estimated date of filing of the Form 10-K at this time.
22
              40.       Later that day the Company filed an 8-K with the SEC providing
23
     further details about the information contained in the press release above. The 8-K
24

25   revealed that in addition to the fiscal year ended 2009 financial statements, the
26
     Company’s financial statements for the first three quarters ended 2010 could no be
27
     relied upon as well as they contained material errors.
28

                                                                     12
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 1                                Applicability of Presumption of Reliance:
                                       Fraud-on-the-Market Doctrine
 2

 3            41.       At all relevant times, the market for CIL’s common stock was an

 4   efficient market for the following reasons, among others:
 5
                        (a)       The Company’s stock met the requirements for listing, and
 6

 7                                was listed and actively traded on the AMEX, a highly efficient

 8                                and automated market;
 9
                        (b)       As a regulated issuer, CIL filed periodic public reports with the
10

11                                SEC and the AMEX;
12                      (c)       CIL regularly communicated with public investors via
13
                                  established market                 communication mechanisms, including
14

15                                through regular disseminations of press releases on the
16                                national circuits of major newswire services and through
17
                                  other         wide-ranging               public    disclosures,   such    as
18

19                                communications with the financial press                    and other similar
20
                                  reporting services;
21
                        (d)       CIL was followed by several securities analysts employed
22

23                                by major brokerage firms who wrote reports that were
24
                                  distributed to the sales force and certain customers of their
25
                                  respective brokerage firms during the Class Period. Each of
26

27

28

                                                                     13
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 1                                these reports was publicly available and entered the public
 2
                                  marketplace; and
 3

 4            42.       As a result of the foregoing, the market for the Company’s common

 5   stock promptly digested current information regarding the Company from all
 6
     publicly available sources and reflected such information in the Company’s stock
 7

 8   price. Under these circumstances, all purchasers of the Company’s common stock
 9   during the Class Period suffered similar injury through their purchase of the
10
     Company’s common stock at artificially inflated prices, and a presumption of
11

12   reliance applies.
13                                   Applicability of Presumption of Reliance:
14
                                                           Affiliated Ute
15

16            43.       Neither Plaintiff nor the Class need prove reliance – either individually or as
17   a class because under the circumstances of this case, which involves a failure to disclose
18
     the material related party transactions described herein above, positive proof of reliance is
19

20   not a prerequisite to recovery, pursuant to ruling of the United States Supreme Court in
21
     Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972).                 All that is
22
     necessary is that the facts withheld be material in the sense that a reasonable investor
23

24   might have considered the omitted information important in deciding whether to buy or
25
     sell the subject security.
26
                                                   NO SAFE HARBOR
27

28

                                                                     14
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 1            44.       The statutory safe harbor provided for forward-looking statements
 2
     under certain circumstances does not apply to any of the allegedly false statements
 3

 4   pleaded in this Complaint. Many or all of the specific statements pleaded herein

 5   were not identified as “forward-looking statements” when made. To the extent
 6
     there were any forward-looking statements, there were no meaningful cautionary
 7

 8   statements identifying important factors that could cause actual results to differ
 9   materially from those in the purportedly forward-looking statements. Alternatively,
10
     to the extent that the statutory safe harbor does apply to any forward-looking
11

12   statements pleaded herein, Defendants are liable for those false forward-looking
13   statements because at the time each of those forward-looking statements was made,
14
     the particular speaker knew that the particular forward-looking statement was false,
15

16   and/or the forward-looking statement was authorized and/or approved by an
17   executive officer of the Company who knew that those statements were false when
18
     made.
19

20                                       FIRST CLAIM
                                   Violation of Section 10(b) of
21                              The Exchange Act and Rule 10b-5
                      Promulgated Thereunder Against CIL, Xuemei and Jiang
22

23
              45.       Plaintiff repeats and realleges each and every allegation contained
24
     above as if fully set forth herein.
25

26            46.       This Claim is asserted against defendants CIL, Xuemei and Jiang
27
     (collectively, “First Claim Defendants”)
28

                                                                     15
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 1            47.       During the Class Period, First Claim Defendants carried out a plan,
 2
     scheme and course of conduct which was intended to and, throughout the Class
 3

 4   Period, did: (1) deceive the investing public, including Plaintiff and other Class

 5   members, as alleged herein; and (2) cause Plaintiff and other members of the Class
 6
     to purchase CIL’s securities at artificially inflated prices. In furtherance of this
 7

 8   unlawful scheme, plan and course of conduct, First Claim Defendants, and each of
 9   them, took the actions set forth herein.
10
              48.       First Claim Defendants (a) employed devices, schemes, and artifices to
11

12   defraud; (b) made untrue statements of material fact and/or omitted to state material
13   facts necessary to make the statements not misleading; and (c) engaged in acts,
14
     practices, and a course of business that operated as a fraud and deceit upon the
15

16   purchasers of the Company’s securities in an effort to maintain artificially high
17   market prices for CIL’s securities in violation of Section 10(b) of the Exchange Act
18
     and Rule 10b-5 thereunder.
19

20            49.       First Claim Defendants, directly and indirectly, by the use, means or
21
     instrumentalities of interstate commerce and/or of the mails, engaged and
22
     participated in a continuous course of conduct to conceal adverse material
23

24   information about the business, operations and future prospects of CIL as specified
25
     herein.
26
              39.       First Claim Defendants employed devices, schemes, and artifices to
27

28   defraud while in possession of material adverse non-public information, and
                                                                     16
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 1   engaged in acts, practices, and a course of conduct as alleged herein in an effort to
 2
     assure investors of the Company’s value and performance and continued substantial
 3

 4   growth, which included the making of, or participation in the making of, untrue

 5   statements of material facts and omitting to state material facts necessary in order to
 6
     make the statements made about the Company and its business operations and
 7

 8   future prospects in the light of the circumstances under which they were made, not
 9   misleading, as set forth more particularly herein, and engaged in transactions,
10
     practices and a course of business that operated as a fraud and deceit upon the
11

12   purchasers of the Company’s securities during the Class Period.
13            40.       First       Claim         Defendants               had   actual   knowledge   of    the
14
     misrepresentations and omissions of material facts set forth herein, or acted with
15

16   reckless disregard for the truth in that they failed to ascertain and to disclose such
17   facts, even though such facts were available. Such material misrepresentations
18
     and/or omissions were done knowingly or recklessly and for the purpose and effect
19

20   of concealing the Company’s operating condition and future business prospects
21
     from the investing public and supporting the artificially inflated price of its
22
     securities.          As demonstrated by overstatements and misstatements of the
23

24   Company’s financial condition throughout the Class Period, if the First Claim
25
     Defendants did not have actual knowledge of the misrepresentations and omissions
26
     alleged, they were reckless in failing to obtain such knowledge by deliberately
27

28

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 1   refraining from taking those steps necessary to discover whether those statements
 2
     were false or misleading.
 3

 4            41.       As a result of the dissemination of the materially false and misleading

 5   information and failure to disclose material facts, as set forth above, the market
 6
     price of CIL’s securities was artificially inflated during the Class Period.                  In
 7

 8   ignorance of the fact that market prices of the Company’s publicly-traded securities
 9   were artificially inflated, and relying directly or indirectly on the false and
10
     misleading statements made by the First Claim Defendants, or upon the integrity of
11

12   the market in which the common stock trades, and/or on the absence of material
13   adverse information that was known to or recklessly disregarded by the First Claim
14
     Defendants, but not disclosed in public statements by the First Claim Defendants
15

16   during the Class Period, Plaintiff and the other members of the Class acquired CIL
17   common stock during the Class Period at artificially high prices, and were, or will
18
     be, damaged thereby.
19

20            42.       At the time of said misrepresentations and omissions, Plaintiff and
21
     other members of the Class were ignorant of their falsity, and believed them to be
22
     true. Had Plaintiff and the other members of the Class and the marketplace known
23

24   the truth regarding CIL’s financial results, which was not disclosed by the
25
     Defendants, Plaintiff and other members of the Class would not have purchased or
26
     otherwise acquired their CIL’s securities, or, if they had acquired such securities
27

28

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 1   during the Class Period, they would not have done so at the artificially inflated
 2
     prices that they paid.
 3

 4            43.       As a direct and proximate result of the First Claim Defendants’

 5   wrongful conduct, Plaintiff and other members of the Class suffered damages in
 6
     connection with their purchases of CIL’s securities during the Class Period.
 7

 8            44.       This action was filed within two years of discovery of the fraud and
 9   within five years of each Plaintiff’s purchases of securities giving rise to the cause
10
     of action.
11

12                                      SECOND CLAIM
                                   Violation of Section 20(a) Of
13                       The Exchange Act Against the Individual Defendants
14
              45.       Plaintiff repeats and realleges each and every allegation contained
15

16   above as if fully set forth herein.
17            46.       The Individual Defendants acted as controlling persons of CIL within
18
     the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of
19

20   their high-level positions, agency, and their ownership and contractual rights,
21
     participation in and/or awareness of the Company’s operations and/or intimate
22
     knowledge of the false financial statements filed by the Company with the SEC and
23

24   disseminated to the investing public, the Individual Defendants had the power to
25
     influence and control, and did influence and control, directly or indirectly, the
26
     decision-making of the Company, including the content and dissemination of the
27

28   various statements that plaintiff contends are false and misleading. The Individual
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 1   Defendants were provided with or had unlimited access to copies of the Company’s
 2
     reports, press releases, public filings and other statements alleged by Plaintiff to
 3

 4   have been misleading prior to and/or shortly after these statements were issued and

 5   had the ability to prevent the issuance of the statements or to cause the statements to
 6
     be corrected.
 7

 8            47.       In particular, each Individual Defendant had direct and supervisory
 9   involvement in the day-to-day operations of the Company and, therefore, is
10
     presumed to have had the power to control or influence the particular transactions
11

12   giving rise to the securities violations as alleged herein, and exercised the same.
13            48.       As set forth above, the First Claim Defendants each violated Section
14
     10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint.
15

16            49.       By virtue of their positions as controlling persons, the Individual
17   Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct
18
     and proximate result of Defendants’ wrongful conduct, Plaintiff and other members
19

20   of the Class suffered damages in connection with their purchases of the Company’s
21
     common stock during the Class Period.
22
              50.       This action was filed within two years of discovery of the fraud and
23

24   within five years of each Plaintiff’s purchases of securities giving rise to the cause
25
     of action.
26
                                                       THIRD CLAIM
27

28                                                Against All Defendants
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 1                                  for Violation of §11 of the Securities Act
 2

 3            51.       Plaintiff repeats and realleges each and every allegation contained
 4
     above as if fully set forth herein. This claim is not based on, and does not allege,
 5

 6   fraud.

 7            52.       For purposes of this claim, Plaintiff expressly disclaims and excludes
 8
     any allegations that could be construed as alleging fraud or intentional or reckless
 9
10   misconduct as this cause of action is based expressly on claims of strict liability
11   and/or negligence under the Securities Act.
12
              53.       This claim is asserted by Plaintiff against all Defendants by, and on
13

14   behalf of, persons who acquired shares of the Company's securities pursuant to
15   and/or traceable to Registration Statement in connection with the Offering.
16
              54.       Individual Defendants as signatories of the Registration Statement, as
17

18   directors and/or officers of CIL and controlling persons of the issuer, owed to the
19
     holders of the securities obtained through the Registration Statement the duty to
20
     make a reasonable and diligent investigation of the statements contained in the
21

22   Registration Statement at the time they became effective to ensure that such
23
     statements were true and correct, and that there was no omission of material facts
24
     required to be stated in order to make the statements contained therein not
25

26   misleading. Defendants knew, or in the exercise of reasonable care should have
27
     known, of the material misstatements and omissions contained in or omitted from
28

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 1   the Registration Statement as set forth herein. As such, defendants are liable to the
 2
     Class.
 3

 4            55.       Underwriter Defendants owed to the holders of the securities obtained

 5   through the Registration Statement the duty to make a reasonable and diligent
 6
     investigation of the statements contained in the Registration Statement at the time
 7

 8   they became effective to ensure that such statements were true and correct and that
 9   there was no omission of material facts required to be stated in order to make the
10
     statements contained therein not misleading.
11

12            56.       None of the Defendants made a reasonable investigation or possessed
13   reasonable grounds for the belief that the statements contained in the Registration
14
     Statement were true or that there was no omission of material facts necessary to
15

16   make the statements made therein not misleading.
17            57.       Defendants issued and disseminated, caused to be issued and
18
     disseminated, and participated in the issuance and dissemination of, material
19

20   misstatements to the investing public, which were contained in the Registration
21
     Statement, that misrepresented or failed to disclose, inter alia, the facts set forth
22
     above. By reason of the conduct herein alleged, each defendant violated and/or
23

24   controlled a person who violated Section 11 of the Securities Act.
25
              58.       As a direct and proximate result of Defendants’ acts and omissions in
26
     violation of the Securities Act, the market price of CIL’s securities sold in the
27

28   Offering was artificially inflated, and Plaintiff and the Class suffered substantial
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 1   damage in connection with their ownership of CIL’s securities pursuant to the
 2
     Registration Statement.
 3

 4            59.       CIL is the issuer of the securities sold via the Registration Statement.

 5   As issuer of the securities, the Company is strictly liable to Plaintiff and the Class
 6
     for the material misstatements and omissions therein.
 7

 8            60.       At the times they obtained his shares of CIL, Plaintiff and members of
 9   the Class did so without knowledge of the facts concerning the misstatements or
10
     omissions alleged herein.
11

12            61.        This action is brought within one year after discovery of the untrue
13   statements and omissions in and from the Registration Statement which should
14
     have been made through the exercise of reasonable diligence, and within three years
15

16   of the effective date of the Prospectus.
17            62.        By virtue of the foregoing, Plaintiff and the other members of the
18
     Class are entitled to damages under Section 11 as measured by the provisions of
19

20   Section 11 (e), from the defendants and each of them, jointly and severally.
21
                                                     FOURTH CLAIM
22
                                    Against All Defendants
23
            for Violation of §12(a)(2) of the Securities Act Against All Defendants
24

25
              63.       Plaintiff repeats and realleges each and every allegation contained
26
     above as if fully set forth herein. This claim is not based on, and does not allege,
27

28   fraud.
                                                                     23
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 1            64.       For purposes of this claim, Plaintiff expressly disclaims and excludes
 2
     any allegations that could be construed as alleging fraud or intentional or reckless
 3

 4   misconduct as this cause of action is based expressly on claims of strict liability

 5   and/or negligence under the Securities Act.
 6
              65.       Defendants were sellers, offerors, underwriters and/or solicitors of
 7

 8   sales of the CIL securities offering pursuant to the June 2010 Prospectus.
 9            66.       The Prospectus contained untrue statements of material facts, omitted
10
     to state other facts necessary to make the statements made not misleading, and
11

12   concealed and failed to disclose material facts. Defendants' actions of solicitation
13   included participating in the preparation of the false and misleading Prospectus.
14
              67.       Defendants owed, to the purchasers of CIL securities which were sold
15

16   in the Offering, the duty to make a reasonable and diligent investigation of the
17   statements contained in the Prospectus, to insure that such statements were true and
18
     that there was not omission to state a material fact required to be stated in order to
19

20   make the statements contained therein not misleading. These Defendants knew of,
21
     or in the exercise of reasonable care should have known of, the misstatements and
22
     omissions contained in the Offering materials as set forth above.
23

24            68.       Plaintiff and other members of the Class purchased or otherwise
25
     acquired CIL securities pursuant to and traceable to the defective Prospectus.
26
     Plaintiff did not know, or in the exercise of reasonable diligence could not have
27

28   known of the untruths and omissions.
                                                                     24
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 1            69.       Plaintiff, individually and representatively, hereby offer to tender to
 2
     Defendants those securities which Plaintiff and other class members continue to
 3

 4   own, on behalf of all members of the Class who continue to own such securities, in

 5   return for the considerations paid for those securities together with interest thereon.
 6
              70.       By reason of the conduct alleges herein, these Defendants violated,
 7

 8   and/or controlled a person who violated, section 12(a)(2) of the Securities Act.
 9   Accordingly, Plaintiffs and members of the Class who hold CIL securities
10
     purchased pursuant and/or traceable to the Offering have the right to rescind and
11

12   recover the consideration paid for their CIL securities and, hereby elect to rescind
13   and tender their CIL securities to· the Defendants sued herein. Plaintiff and class
14
     members who have sold their CIL securities are entitled to rescissionary damages.
15

16            71.       Less than three years elapsed from the time that the securities upon
17   which this count is brought were sold to the public to the time of the filing of this
18
     action. Less than one elapsed from the time when Plaintiff discovered or reasonably
19

20   could have discovered the facts upon which this count is based to the time of the
21
     filing of this action.
22
                                                        FIFTH CLAIM
23

24                               Violations of Section 15 of the Securities Act
25
                                         Against the Individual Defendants
26

27

28

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 1            72.       Plaintiffs repeat and reallege each and every allegation contained
 2
     above as if fully set forth herein. This claim is not based on, and does not allege,
 3

 4   fraud.

 5            73.       This claim is asserted against each of the Individual Defendants, each
 6
     of whom was a control person of CIL during the relevant time period.
 7

 8            74.       For the reasons set forth above, CIL is liable to Plaintiff and the
 9   members of the Class who purchased CIL common stock in the Offering on the
10
     untrue statements and omissions of material fact contained in the Registration
11

12   Statement and Prospectus, under §§11 and 12(a)(2) of the Securities Act.
13            75.       The Individual Defendants were control persons of CIL by virtue of,
14
     among other things, their positions as senior officers, directors and/or controlling
15

16   shareholders of the Company. Each was in a position to control and did in fact
17   control CIL and the false and misleading statements and omissions contained in the
18
     Registration Statement and Prospectus
19

20            76.       None of the Individual Defendants made reasonable investigation or
21
     possessed reasonable grounds for the belief that the statements contained in the
22
     Registration Statement and Prospectus were accurate and complete in all material
23

24   respects.        Had they exercised reasonable care, they could have known of the
25
     material misstatements and omissions alleged herein.
26
              77.       This claim was brought within one year after the discovery of the
27

28   untrue statements and omissions in the Registration Statement and Prospectus and
                                                                     26
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 1   within three years after CIL common stock was sold to the Class in connection with
 2
     the public offering.
 3

 4            78.       By reason of the misconduct alleged herein, for which CIL is primarily

 5   liable, as set forth above, the Individual Defendants are jointly and severally liable
 6
     with and to the same extent as CIL pursuant to Section 15 of the Securities Act.
 7

 8            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 9                      (a) Determining that this action is a proper class action, designating
10
     Plaintiff as Lead Plaintiff and certifying Plaintiff as a class representative under
11

12   Rule 23 of the Federal Rules of Civil Procedure and Plaintiff’s counsel as Lead
13   Counsel;
14
                        (b) Awarding compensatory damages in favor of Plaintiff and the
15

16   other Class members against all Defendants, jointly and severally, for all damages
17   sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,
18
     including interest thereon;
19

20                      (c)      Awarding plaintiff and the Class their reasonable costs and
21
     expenses incurred in this action, including counsel fees and expert fees;
22
                        (d) Awarding rescissory damages; and
23

24                      (e) Awarding such other and further relief as the Court may deem just
25
     and proper.
26
                                             JURY TRIAL DEMANDED
27

28   Plaintiff hereby demands a trial by jury.
                                                                     27
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